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                             IN THE UNITED STATES DISTRICT co�. t�.                     ·   .·   ·   ·   ·   ·   .   . .   :,       .   l
                           FOR THE NORTHERN DISTRICT OF GEORGfX''!'��-''
                                                                                                                                M




                                            ATLANTA DIVISION

             JORGE ARMANDO-REYES,                      ..
                                                       ..     MOTION TO VACATE
                   Movant,                             ..
                                                       ..     28 U.S.C. § 2255
                                                       ....
                   v.                                  ..
                                                       ..     CRIMINAL NO.
                                                       ...
                                                       .
                                                              1: 12-CR-0078-0DE-RGV-2
             UNITED STATES OF AMERICA,                 ..
                                                       ..
                                                       .
                   Respondent.                         ...    CIVIL ACTION NO.
                                                       ..     1: 15-CV-3311-0DE-RGV
                                                       ..


                                                    ORDER


                   This matter is currently before the Court on Jorge Armando-Reyes' objections


             [Doc. 366] to the Final Report and Recommendation ("R&R") issued by Magistrate


             Judge Russell G. Vineyard [Doc. 362], which recommends that Armando-Reyes' 28


             U.S.C. § 2255 motion be denied. In reviewing a Magistrate Judge's Report and


             Recommendation, the district court "shall make a de novo determination of those


             portions of the report or specified proposed findings or recommendations to which


             objection is made." 28 U.S.C. § 636(b)(l). "Parties filing objections to a magistrate's


             report and recommendation must specifically identify those findings objected to.


             Frivolous, conclusive, or general objections need not be considered by the district


             court." United States v. Schultz, 565 F.3d 1353, 1361 (11th Cir. 2009) (per curiam)


             (quoting Marsden v. Moore, 847 F.2d 1536, 1548 (11th Cir. 1988)) (intemal quotation




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             marks omitted). Absent objection, the district judge "may accept, reject, or modify,


             in whole or in part, the findings and recommendations made by the magistrate judge,"


             28 U.S.C. § 636(b )(1), and "need only satisfy itself that there is no clear error on the


             face ofthe record in order to accept the recommendation," Fed. R. Civ. P. 72, advisory


             committee note, 1983 Addition, Subdivision (b). Further, "the district court has broad


             discretion in reviewing a magistrate judge's report and recommendation" - it "does


             not abuse its discretion by considering an argument that was not presented to the


             magistrate judge" and "has discretion to decline to consider a party's argument when


             that argument was not first presented to the magistrate judge." Williams v. McNeil,


             557 F.3d 1287, 1290-92 (11th Cir. 2009).


                   A federal grand jury in the Northern District of Georgia returned a nine count


             indictment against Armando-Reyes and five co-defendants, charging Armando-Reyes


             in Count One with conspiracy to distribute at least 500 grams of methamphetamine


             and at least 5     kilograms of cocaine, in       violation   of 21 U.S.C. §§ 846,


             841(b)(l)(A)(viii), and (b)(l)(A)(ii); in Count Two with possession with intent to


             distribute cocaine, in violation of§§ 841(a)(l), (b)(l)(C), and18 U.S.C. § 2; in Count


             Three with possession with intent to distribute methamphetamine, in violation of


             §§ 841(a)(l), (b)(l)(C), and18 U.S.C. § 2; in Count Four with possession ofa firearm


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             in furtherance ofa drug-trafficking crime, in violation of18 U.S.C. §§ 924(c)( l )(A)(i),


             (c)(1)(B)(i), and 2; in Count Five with possession of a firearm by a convicted felon,


             in violation of 18 U.S.C. §§ 922(g)( l ) and 924(a)(2); in Count Six with possession of


             a firearm by an illegal alien, in violation of 18 U.S.C. §§ 922(g)(5), 924(a)(2); and in


             Count Eight with possession of counterfeit federal reserve notes, in violation of 18


             U.S.C. § 472.     [Doc. 49].   Armando-Reyes pleaded not guilty, [Doc. 79], and


             proceeded to a four-day jury trial represented by court-appointed counsel Bernard S.


             Brody ("Brody"), [Docs. 81; 171-74; 280-83]. The Court granted the government's


             oral motion to dismiss Count Five, [Doc. 174; Doc. 283 at 115], and the jury found


             Armando-Reyes guilty of all remaining counts, [Doc. 177; Doc. 283 at 142-43].


             Additionally, the jury specifically found that Count One involved at least 500 grams


             of methamphetamine and at least 5 kilograms of cocaine. [Doc. 177]. The Court


             imposed a total sentence of211 months ofimprisonment, [Doc. 246], which the Court


             subsequently reduced to 195 months, [Doc. 344].


                   Armando-Reyes, still represented by Brody, appealed, arguing that the Court


             erred by refusing to grant him a two-level reduction for acceptance of responsibility


             and by admitting voice-identification testimony. Br. of Appellant at 11-16 (Oct. 15,


             2013), United States v. Cintora-Gonzalez, 569 F. App'x 849 (11 th Cir. 2014) (No. 13-


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             13157-BB), 2013 WL 5674906, at* 11-16. On June 24, 2014, the United States Court

             of Appeals for the Eleventh Circuit affirmed Armando-Reyes' conviction and

             sentence. Cintora-Gonzalez, 569 F. App'x at 859.

                    On September 15, 2015, Armando-Reyes timely submitted this pro se§ 2255

             motion. [Doc. 330 at 13]. As grounds for relief, Armando-Reyes argues that Brody

             was ineffective for: (1) failing to properly advise him regarding the sentencing

             benefits to pleading guilty versus going to trial and by not advising him that he could

             accept the government's plea offer and still dispute drug quantity at sentencing, which

             would have resulted in a lower sentence; (2) failing to file a motion in limine to

             exclude a recording of Armando-Reyes' voice and testimony from the government's

             voice expert; (3) failing to challenge jury composition on the ground that there were

             no Hispanics on the jury; and (4) cumulative error. [Doc. 336 at 4-6, 10-24]. The

             government responds that all of Armando-Reyes' claims lack merit. [Doc. 343 at 14-

             29].

                    Armando-Reyes filed motions for leave to conduct discovery and for an

             evidentiary hearing [Doc. 354] and for leave to file a reply to the government's

             response after the completion of discovery [Doc. 355]. The Magistrate Judge denied

             Armando-Reyes' motion for leave to conduct discovery and for an evidentiary

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             hearing, but granted him twenty-one days to file a reply to the government's response.


             [Doc. 360]. Armando-Reyes then sought a second extension of time to file a reply,


             stating only that he needed additional time "due to his personal circumstances


             previously mentioned to this Court."      [Doc. 361].    The Magistrate Judge denied


             Armando-Reyes' second motion for an extension because he failed to explain why


             another extension was necessary. [Doc. 362 at 2].


                   The Magistrate Judge found, as to ground one, that Armando-Reyes received


             constitutionally effective assistance in connection with his decision to proceed to trial


             and further that he failed to show prejudice because (1) the Court would not have


             granted him an acceptance of responsibility reduction had he pleaded guilty while still


             contesting the drug amount and (2) his assertion that he would have received a


             downward departure in order to avoid sentencing disparity with his co-defendants was


             based on mere speculation. [Doc. 362 at 6-11]. Regarding ground two, the Magistrate


             Judge found that because Armando-Reyes' voice exemplar was not taken during a


             custodial   interrogation   and was introduced solely       to measure the physical


             characteristics of his voice and not for any testimonial or communicative content,




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             Miranda1 warnings were not required, and Brody's failure to raise this meritless issue


             could not constitute ineffective assistance of counsel. [Id. at 11-13]. The Magistrate


             Judge then found that Armando-Reyes was not entitled to relief on ground three


             because Brody was not ineffective for failing to raise Armando-Reyes' meritless


             challenge to the composition of the jury. [Id. at 14-16]. Finally, the Magistrate Judge


             determined that because Armando-Reyes had not demonstrated that counsel made any


             errors, there could be no cumulative error. [Id. at 16-1 7].


                   Armando-Reyes objects that he was entitled to an evidentiary hearing on his


             complaint in ground one that Brody failed to advise him that he could plead guilty


             without a plea agreement. [Doc. 366 at 2-3]. He further objects that the Magistrate


             Judge did not specifically address this complaint and erred by finding that he would


             have had to admit the drug quantities alleged in the indictment in order to plead guilty.


             [Id. at 3-14]. The Court finds, however, that Armando-Reyes is not entitled to relief


             on ground one because he cannot show prejudice. The Court would not have granted


             Armando-Reyes an acceptance of responsibility reduction had he pleaded guilty while




                   1   Miranda v. Arizona, 384 U.S. 436, 444 (1966) (holding that "the prosecution
             may not use statements, whether exculpatory or inculpatory, stemming from custodial
             interrogation of the defendant unless it demonstrates the use of procedural safeguards
             effective to secure the privilege against self-incrimination.").

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             still disputing the drug amount, and Armando-Reyes' belief that he would have


             received a lesser sentence is pure speculation.


                   Armando-Reyes also objects that the Magistrate Judge issued the R&R without


             first allowing him to file a reply to the government's response. [Id. at 3]. Armando-


             Reyes states that he needed additional time because he "does not speak or write


             English" and because he relied on a "jailhouse lawyer" who "was unexpectedly


             transferred." [Id.]. Contrary to his assertions, Armando-Reyes did not present these


             circumstances to the Magistrate Judge, who therefore did not err in denying Armando-


             Reyes' second motion for an extension of time to file a reply.


                   After careful consideration, the Court finds that all of the Magistrate Judge's


             factual and legal conclusions were correct and that Armando-Reyes' objections have


             no merit. Accordingly, the Court ADOPTS the R&R [Doc. 362] as the opinion and


             order of the Court, DENIES this§ 2255 motion [Docs. 330, 336], and DECLINES


             to issue a certificate of appealability. The Clerk is DIRECTED to close this case.


                   SO ORDERED, this         ci (,   day of April, 2016.




                                             ORINDA D. EVANS
                                             UNITED STATES DISTRICT JUDGE




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